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       In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                   Filed: December 5, 2016

* * * * * * *              *    *     *   *   *   *
HARVEY WALKER,                                    *          No. 14-921v
                                                  *
                        Petitioner,               *          UNPUBLISHED OPINION
                                                  *
v.                                                *          Decision on Damages; Joint
                                                  *          Stipulation; Trivalent Influenza
SECRETARY OF HEALTH                               *          Vaccination; Rheumatoid Arthritis.
AND HUMAN SERVICES,                               *
                                                  *
                        Respondent.               *
*    * *    *   *   *   * * * *           *   *   *


Ronald Homer, Conway Homer, P.C., Boston, MA for petitioner.
Glenn Alexander MacLeod, U.S. Department of Justice, Washington, D.C. for
respondent.

                          DECISION ON JOINT STIPULATION1

Gowen, Special Master:

      On September 29, 2014, Harvey Walker (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.2 [the “Vaccine Act” or “Program”]. Petitioner alleges that as a result of


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I
intend to post this ruling on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner
has 14 days to identify and move to delete medical or other information, the disclosure of which
would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter,
for ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of
42 U.S.C. § 300aa (2012).

                                                      1
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a trivalent influenza (“flu”) vaccine administered on or about September 8, 2012, he
suffered rheumatoid arthritis (“RA”). Stipulation at ¶ 5.

       On December 5, 2016, the parties filed a stipulation stating that compensation
should be awarded to petitioner. Respondent denies that the vaccine caused petitioner’s
alleged RA or any other injury. Respondent further denies that petitioner’s current
disabilities are a sequela of a vaccine-related injury. Nevertheless, the parties agree to the
stipulation attached hereto as Appendix A.

       The undersigned finds the stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Petitioner shall receive the following compensation:

       1) A lump sum payment of $100,000.00 in the form of a check payable to
          petitioner Harvey Walker. This amount represents compensation for all
          damages that would be available under 42 U.S.C. § 300aa-15(a).

        The Clerk of the Court is directed to enter judgment in accordance with the parties’
stipulation.3

       IT IS SO ORDERED.
                                                    s/Thomas L. Gowen
                                                    Thomas L. Gowen
                                                    Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.


                                                2
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